Case 2:15-cv-01167-JRG-RSP Document 202 Filed 09/03/19 Page 1 of 2 PageID #: 5667



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

   EMED TECHNOLOGIES                                §
   CORPORATION,                                     §
                                                    §
                  Plaintiff,                        §
                                                    §    Case No. 2:15-cv-01167-JRG-RSP
   v.                                               §
                                                    §
   REPRO-MED SYSTEMS, INC. D/B/A                    §
   RMS MEDICAL PRODUCTS,                            §
                                                    §
                  Defendant.
                               ORDER STAYING PROCEEDINGS

         The Court, sua sponte, hereby issues a stay of the instant proceeding pending the outcome

  of the parties’ appeal to the United States Court of Appeals for the Federal Circuit (EMED

  Technologies Corporation v. Repro-Med Systems, Inc., Case No. 2019-2145). See DSS Technology

  Management Inc. v. Taiwan Semiconductor, et al, Case No. 2:14-cv-00199-RSP, Dkt. No. 207.

         On June 28, 2019, the Court granted Defendant Repro-Med Systems, Inc.’s motion for

  summary judgment as to non-infringement of the patent-in-suit. (Dkt. No. 169). The Court entered

  Final Judgment on June 28, 2019 based on the grant of summary judgment to Defendant. (Dkt.

  No. 171). On July 9, 2019, Plaintiff filed an appeal as to the Order granting Defendant’s motion

  for summary judgment. (Dkt. No. 172). In light of the Final Judgment and current appeal before

  the Federal Circuit, the Court hereby STAYS the instant proceeding subject to the following:

         The parties are ORDERED to file a Joint Status Notice regarding the status of the instant

  appeal every six months, beginning from the date of this Order. This notice shall provide a brief

  summary of the current status of the appeal at the conclusion of each six-month period. The parties

  are further ORDERED to meet and confer within ten days from the date of the Federal Circuit’s

  disposition of the appeal to discuss the parties’ respective positions in proceeding with this matter
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Case 2:15-cv-01167-JRG-RSP Document 202 Filed 09/03/19 Page 2 of 2 PageID #: 5668



  at the conclusion of the appeal. The parties are further ORDERED to file a Joint Status Report

  within ten days of the parties’ meet and confer detailing the parties’ meet and confer efforts,

  agreements, and remaining disputes as they relate to further proceedings in this matter.
         SIGNED this 3rd day of January, 2012.
         SIGNED this 3rd day of September, 2019.




                                                      ____________________________________
                                                      ROY S. PAYNE
                                                      UNITED STATES MAGISTRATE JUDGE




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